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May 17, 2023

The Honorable Amit Mehta

United States District Court for the District of Columbia
333 Constitution Avene, NW

Washington, DC 20001

RE: United States v. RHODES, Ill (1:22-cr-00015)

Dear Judge Mehta,

| am writing this letter in support of Kenneth Harrelson who was recently convicted of Obstruction of an
Official Proceeding and Conspiracy to Obstruct an Official Proceeding. As Kenneth Harrelson’s fellow
disabled veteran, and friend of his wife Angel Harrelson, | have known them to be dedicated, and
devoted to their family, friends, and country. Kenneth Harrelson served honorably in the United States
Army with a rank of Sargeant, and is the proud father of four children, with one son currently serving as a
PFC in the Army.

| understand the enormity and severity of his crimes, but | believe that Kenneth Harrelson deserves
leniency in this case. Kenneth Harrelson has sacrificed so much for our country and has already faced
significant consequences for his actions. A long prison sentence or other severe punishments could
significantly impact his health as well as the financial and emotional distress on his wife and children.

| respectfully request that you take Kenneth Harrelson’s military service into account when determining
his sentence. | am confident that Kenneth Harrelson has learned from this experience and will not
engage in any criminal activity in the future. Kenneth Harrelson has always shown a strong commitment
to duty and responsibility, and | am confident that after lessons learned from this experience, he can
become a positive influence in our society.

Thank you for your time and consideration.
Sincerely,

Gregory Ruffenach, Disabled Veteran, USMC
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